 Case 19-11128-elf          Doc 86        Filed 02/22/22 Entered 02/22/22 12:48:02             Desc Main
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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Davy Woods
       Angela B. Woods                                                              CHAPTER 13
                                    Debtor(s)

FREEDOM MORTGAGE CORPORATION
                    Movant
          vs.                                                                     NO. 19-11128 ELF

Davy Woods
Angela B. Woods
                                    Debtor(s)

Kenneth E. West Esq.
                                    Trustee

                     MOTION OF FREEDOM MORTGAGE CORPORATION
                          TO APPROVE LOAN MODIFICATION

         1.       The Movant is FREEDOM MORTGAGE CORPORATION.

         2.       Debtor(s) are the owner(s) of the premises 309 Ross Court , Wyncote, PA 19095, hereinafter

 referred to as the mortgaged premises.

         3.       Movant is the holder of a mortgage, original principal amount of $223,667.00 on the

 mortgaged premises that was executed on June 20, 2017. Said mortgage was recorded on June 23, 2017 in

 Instrument Number 2017045374. The Mortgage was subsequently assigned to Movant by way of

 Assignment of Mortgage recorded on November 27, 2018, in Instrument Number 2018081214 in

 Montgomery County.

         4.        Kenneth E. West Esq., is the Trustee appointed by the Court.

         5.       Debtor has applied and been approved for a Loan Modification Agreement with Movant.

 The Loan Modification is attached hereto as Exhibit “A”.

         6.       Movant seeks Court approval of the Loan Modification by way of the within Motion.

         7.       Approval and recordation (if applicable) of the Loan Modification shall not constitute a

 violation of the automatic stay.

         8.       Upon Court approval of the within Motion, Movant shall file an Amended Proof of Claim to

 reflect the Loan Modification within thirty (30) days of the entry of any such Order.
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        WHEREFORE, Movant prays that an Order be entered approving the Loan Modification Agreement

and allowing for the recordation of such agreement (if applicable).



                                                   /s/ Rebecca A. Solarz, Esquire
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